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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-cv-81222-DMM


   MARY MCLEAN, individually and on
   behalf of all others similarly situated,

                  Plaintiff,

   v.

   BRETT A. OSBORN, D.O., PLLC, a
   professional limited liability company

                  Defendant.
                                                /




                          SETTLEMENT AGREEMENT AND RELEASE




                                              000001/00945797_1
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          This Settlement Agreement and Release (“Agreement”) is entered into between and among

   the following parties, by and through their respective counsel: Plaintiff Mary Mclean, on behalf

   of herself and the Settlement Class, and Defendant Brett A. Osborn, D.O., PLLC.

          WHEREAS, on September 13, 2018, Plaintiff filed the Class Action Complaint (the

   “Complaint”) on behalf of herself and a putative class in the lawsuit styled MCLEAN v. BRETT A.

   OSBORN, D.O., PLLC, Case No. 18-cv-81222-DMM (S.D. Fla.) (“Litigation”), which asserts

   claims under the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”);

          WHEREAS, Plaintiff alleges that she and members of the class received marketing

   messages from Defendant without prior express consent or express written consent, which harmed

   her and the class (the “Allegations”);

          WHEREAS, Plaintiff alleges that she and other similarly situated individuals are entitled

   to declaratory and injunctive relief, statutory damages, attorneys’ fees and costs as a result;

          WHEREAS, on March 7, 2019, with the assistance of mediator Rodney Max of Upchurch

   Watson White & Max, counsel for the Parties met in West Palm Beach, Florida and engaged in

   intensive arm’s-length negotiations in a mediation lasting most of the day to resolve the Litigation

   with a view toward achieving substantial benefits for the Settlement Class as a whole, while

   avoiding the cost, delay, and uncertainty of further litigation, trial, and appellate practice;

          WHEREAS, for settlement purposes only, Plaintiff asks that this Court certify the

   Settlement Class and appoint her as Class Representative and her attorneys Edelsberg Law, P.A.,

   Shamis & Gentile, P.A., and Hiraldo, P.A. as Class Counsel in this case;

          WHEREAS, based on their investigation and discovery in the Litigation and the experience

   of Class Counsel, Plaintiff and Class Counsel have concluded that the terms and conditions of this




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   Agreement are fair, reasonable, and adequate to the Settlement Class and in the best interest of the

   Settlement Class;

           WHEREAS, Plaintiff, on behalf of herself and as the representative of the Settlement Class,

   and Defendant desire to resolve the dispute between them;

           WHEREAS, Plaintiff, on behalf of herself and as the representative of the Settlement Class,

   and Defendant will execute this Agreement solely to compromise and settle protracted,

   complicated, and expensive litigation; and

           WHEREAS, Defendant denies any and all liability or wrongdoing to the Class

   Representative and to the Settlement Class. Nonetheless, Defendant has concluded that further

   litigation would be protracted and expensive, has taken into account the uncertainty and risks

   inherent in this Litigation, and has determined that it is desirable that the Litigation and Allegations

   be fully, completely, and finally settled in the manner and upon the terms set forth herein.

           NOW, THEREFORE, in light of the foregoing, for good and valuable consideration, the

   receipt of which is hereby mutually acknowledged, the Parties agree, subject to approval by the

   Court, as follows.

   I.      Definitions

           In addition to the terms defined at various points within this Agreement, the following

   Defined Terms apply throughout this Agreement:

   1.      “Action” means MCLEAN v. BRETT A. OSBORN, D.O., PLLC, Case No. 18-cv-81222-

           DMM.

   2.      “Osborn” means Brett A. Osborn, D.O., PLLC.

   3.      “Osborn Messages” means text messages and/or voicemail messages that were sent to

           Settlement Class Members by or on behalf of Osborn from September 13, 2014 through



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         the date of Final Approval.

   4.     “Claim” or “Claim Form” means a written submission made to the Settlement

         Administrator by a Settlement Class Member for the purpose of participating as a

         Settlement Class Claimant in this Action.

   5.    “Class Counsel” means:

         Scott Edelsberg, Esq.
         Edelsberg Law, P.A.
         2875 NE 191st Street, Suite 703
         Aventura, FL 33180

         Andrew J. Shamis, Esq.
         Shamis & Gentile, P.A.
         14 NE 1st Avenue, Suite 400
         Miami, Florida 33132

         Manuel S. Hiraldo, Esq.
         Hiraldo P.A.
         401 E. Las Olas Blvd., Suite 1400
         Fort Lauderdale, FL 33301

   6.    “Claims Deadline” means the last day that Settlement Class Members may submit a Claim

         Form to the Settlement Administrator. The Claims Deadline shall be 15 days after the

         Final Approval Hearing.

   7.    “Class Period” means the period from September 13, 2014 through the date of Final
         Approval.

   8.    “Class Representative” means Mary Mclean.

   9.    “Court” means the United States District Court for the Southern District of Florida.

   10.   “Effective Date” means the fifth business day after which all of the following events have

         occurred:

         a.     The Court has entered without material change the Final Approval Order; and

         b.     The time for seeking rehearing or appellate or other review has expired, and no



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                appeal or petition for rehearing or review has been timely filed; or the Settlement

                is affirmed on appeal or review without material change, no other appeal or petition

                for rehearing or review is pending, and the time period during which further petition

                for hearing, review, appeal, or certiorari could be taken has finally expired and

                relief from a failure to file same is not available.

   11.   “Escrow Account” means the account to be established at an institution to be chosen by

         Class Counsel consistent with the terms and conditions of this Agreement.

   12.   “Escrow Agent” means Epiq Class Action & Claims Solutions, Inc. (“Epiq”). Class

         Counsel and Osborn may, by agreement, substitute a different organization as Escrow

         Agent, subject to approval by the Court if the Court has previously approved the

         Settlement, preliminarily or finally. In the absence of agreement, either Class Counsel or

         Osborn may move the Court to substitute a different organization as Escrow Agent upon a

         showing that the responsibilities of Escrow Agent have not been adequately executed by

         the incumbent. The Escrow Agent shall administer the Escrow Account.

   13.   “Final Approval” means the date that the Court enters an order and judgment granting final

         approval to the Settlement and determines the amount of fees, costs, and expenses awarded

         to Class Counsel and the amount of a Service Award to the Class Representative. The

         proposed Final Approval Order, defined below, shall be in a form agreed upon by Class

         Counsel and Osborn. In the event that the Court issues separate orders addressing the

         foregoing matters, then Final Approval means the date of the last of such orders.

   14.   “Final Approval Order” means the order and final judgment that the Court enters upon

         Final Approval. In the event that the Court issues separate orders addressing the matters

         constituting Final Approval, then Final Approval Order includes all such orders.



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   15.   “Net Settlement Fund” means the Settlement Fund minus Settlement Costs.

   16.   “Notice” means the notices of proposed class action settlement that the Parties will ask the

         Court to approve in connection with the motion for preliminary approval of the Settlement.

         “Notice Program” means the methods provided for in this Agreement for giving the Notice

         and consists of Emailed Notice, Mailed Notice to the extent possible through reverse

         lookup of phone numbers for Class Members for whom an email address is not provided

         or cannot reasonably be determined (as set forth below) or for whom Email Notice bouced

         back and Long-Form Notice. The form of the proposed Email Notice, Mailed Notice, and

         Long-Form Notice agreed upon by Class Counsel and Osborn, subject to Court approval

         and/or modification, are attached as EXHIBITS 1-3.

   17.   “Notice Administrator” means Hilsoft Notifications. Class Counsel and Osborn may, by

         agreement, substitute a different organization as Notice Administrator, subject to approval

         by the Court if the Court has previously approved the Settlement preliminarily or finally.

         In the absence of agreement, either Class Counsel or Osborn may move the Court to

         substitute a different organization as Notice Administrator upon a showing that the

         responsibilities of Notice Administrator have not been adequately executed by the

         incumbent.

   18.   “Opt-Out Period” means the period that begins the day after the earliest date on which the

         Notice is first emailed, mailed, or appears online, and that ends no later than 30 days prior

         to the Final Approval Hearing. The deadline for the Opt-Out Period will be specified in

         the Notice.

   19.   “Parties” means Plaintiff and Osborn.

   20.   “Plaintiff” means Mary Mclean.



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   21.   “Preliminary Approval” means the date that the Court enters, without material change, an

         order preliminarily approving the Settlement in the form jointly agreed upon by the Parties.

   22.   “Released Claims” means all claims to be released as specified in this Agreement. The

         “Releases” mean all of the releases contained in this Agreement.

   23.   “Released Parties” means those persons released as specified in the Releases.

   24.   “Releasing Parties” means Plaintiff and all Settlement Class members who do not timely

         and properly opt-out of the Settlement, and each of their respective executors,

         representatives, heirs, predecessors, assigns, beneficiaries, successors, bankruptcy trustees,

         guardians, joint tenants, tenants in common, tenants by the entireties, agents, attorneys, and

         all those who claim through them or on their behalf.

   25.   “Settlement” means the settlement into which the Parties have entered to resolve the

         Action.

   26.   “Settlement Administrator” means Epiq. Class Counsel and Osborn may, by agreement,

         substitute a different organization as Settlement Administrator, subject to approval by the

         Court if the Court has previously approved the Settlement preliminarily or finally. In the

         absence of agreement, either Class Counsel or Osborn may move the Court to substitute a

         different organization as Settlement Administrator upon a showing that the responsibilities

         of Settlement Administrator have not been adequately executed by the incumbent.

   27.   “Settlement Class” is defined in paragraph 35 hereof.

   28.   “Settlement Class Member” means any person included in the Settlement Class who does

         not opt-out of the Settlement.

   29.   “Settlement Class Claimant” means any person included in the Settlement Class who files

         a valid and timely Claim and who does not opt-out of the Settlement.



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   30.   “Settlement Costs” mean all costs incurred by Plaintiff, the Settlement Class and Class

         Counsel in connection with the Action, including but not limited to, notice and settlement

         administration costs, including the cost associated with providing notice required by the

         Class Action Fairness Act codified at 28 U.S.C. Sec. 1332(d), expenses advanced by Class

         Counsel, attorneys’ fees awarded to Class Counsel, and any Service Award payable to the

         Class Representative.

   31.   “Settlement Fund” means the $800,000.00 cash fund to be established pursuant to this

         Agreement.

   32.   “Settlement Fund Payment” means the cash dollar amount of the Settlement Fund that each

         Settlement Class Claimant will receive.

   33.   “Settlement Website” means the website that the Settlement Administrator will establish

         as soon as practicable following Preliminary Approval, but prior to the commencement of

         the Notice Program, as a means for members of the Settlement Class to obtain notice of

         and information about the Settlement, through and including hyperlinked access to this

         Agreement, the Long-Form Notice, the order preliminarily approving this Settlement, and

         such other documents as Class Counsel and Osborn agree to post or that the Court orders

         posted on the website. These documents shall remain on the Settlement Website at least

         until   Final   Approval.     The    URL      of   the   Settlement   Website     shall   be

         www.DROTCPAsettlement.com or such other URL as Class Counsel and Osborn agree

         upon in writing. Ownership of the Settlement Website URL shall be transferred to Osborn

         within 10 days of the date on which operation of the Settlement Website ceases.

   34.   “Tax Administrator” means Epiq.       Class Counsel and Osborn may, by agreement,

         substitute a different organization as Tax Administrator, subject to approval by the Court



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          if the Court has previously approved the Settlement preliminarily or finally. In the absence

          of agreement, either Class Counsel or Osborn may move the Court to substitute a different

          organization as Tax Administrator upon a showing that the responsibilities of Tax

          Administrator have not been adequately executed by the incumbent.                 The Tax

          Administrator will perform all tax-related services for the Escrow Account as provided in

          this Agreement.

   II.    Certification of the Settlement Class

   35.    For settlement purposes only, Plaintiff and Osborn agree to ask the Court to certify the

          following “Settlement Class,” consisting of approximately 8,097 Settlement Class

          members, under Rules 23(b)(3) and (e) of the Federal Rules of Civil Procedure:

                 All individuals (within or outside of the United States) (i) who were sent
                 one or more Osborn Messages (ii) on his or her cellular telephone (iii) by
                 or on behalf of Osborn, (iv) from September 13, 2014 through the date of
                 Final Approval.

          The following are excluded from the Settlement Class: (1) the trial judge presiding over

          this case; (2) Osborn, as well as any parent, subsidiary, affiliate or control person of

          Osborn, and the officers, directors, agents, servants or employees of Osborn; (3) any of the

          Released Parties; (4) the immediate family of any such person(s); (5) any Settlement Class

          Member who has timely opted out of this proceeding; and (6) Plaintiff’s Counsel and their

          employees.

   III.   Settlement Consideration

   36.    The total cash consideration to be provided by BCS Insurance Company on behalf of

          Osborn to Settlement Class Claimants pursuant to the Settlement shall be $800,000.00.

   37.    Settlement Costs shall be payable from the Settlement Fund. Class Counsel shall be

          responsible for supervising the Settlement Administrator and Notice Administrator.


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          Payments shall be made pursuant to a separate agreement with the Settlement

          Administrator and Notice Administrator.         The Parties estimate that Notice and

          Administration Costs shall be approximately $75,000. If the Notice and Administration

          Costs are ultimately less than $75,000, the difference between the estimated $75,000 and

          the actual Notice and Administration Costs shall be refunded to BCS Insurance Company.

          If, for any reason, the Notice and Administration Costs shall exceed $75,000, any amount

          in excess of $75,000 shall be taken out of the Settlement Fund.

    IV.   Settlement Approval

    38.   Upon execution of this Agreement by all Parties, Class Counsel shall promptly move the

          Court for an Order granting Preliminary Approval of this Settlement (“Preliminary

          Approval Order”). The proposed Preliminary Approval Order that will be attached to the

          motion shall be in a form agreed upon by Class Counsel and Osborn. The motion for

          Preliminary Approval shall request that the Court: (1) approve the terms of the Settlement

          as within the range of fair, adequate, and reasonable; (2) provisionally certify the

          Settlement Class pursuant to Federal Rule of Civil Procedure 23(b)(3) and (e) for

          settlement purposes only; (3) approve the Notice Program set forth herein and approve the

          form and content of the Notices of the Settlement; (4) approve the Claims process; (5)

          approve the procedures for Settlement Class members to exclude themselves from the

          Settlement Class or to object to the Settlement; (6) stay the Action pending Final Approval

          of the Settlement; and (7) schedule a Final Approval hearing for a time and date mutually

          convenient for the Court, Class Counsel and counsel for Osborn, at which the Court will

          conduct an inquiry into the fairness of the Settlement, determine whether it was made in

          good faith, and determine whether to approve the Settlement and Class Counsel’s



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           application for attorneys’ fees, costs and expenses and a Service Award to the Class

           Representative (“Final Approval Hearing”).

    V.     Notice Administrator, Settlement Administrator, Escrow Agent, Tax Administrator

    39.    The Notice Administrator and the Settlement Administrator shall administer various

           aspects of the Settlement as described herein and perform such other functions as are

           specified elsewhere in this Agreement, including, but not limited to:

             i.   obtaining from Class Counsel a spreadsheet of individuals in the ActiveCampaign

                  database, which would include the name, email address, and phone number the

                  individual provided when the individual submitted his or her contact information to

                  Osborn (to the extent the individual provided this information); 1

            ii.   cross-referencing the Osborn Spreadsheet to the spreadsheet produced by

                  ActiveCampaign during this Litigation which identifies Osborn Messages sent to

                  8,097 individuals (“ActiveCampaign Spreadsheet”) to determine, to the extent

                  reasonably possibly, the email address associated with each phone number on the

                  ActiveCampaign Spreadsheet;

           iii.   performing reverse telephone number look-ups by cellular telephone number to

                  determine, to the extent reasonably possible, available associated physical addresses

                  that might exist for any Settlement Class Member for whom his or her email address

                  cannot reasonably be determined by cross-referencing the Osborn Spreadsheet to the

                  ActiveCampaign Spreadsheet or for whom Email Notice bounces back; and verifying



    1
     Not all individuals in the Osborn Spreadsheet are Settlement Class Members. Individuals for
    whom a cellular phone number is not included in the Osborn Spreadsheet would not have been
    sent an Osborn Message and therefore do not have a claim against Osborn and are not in the
    Settlement Class. Individuals for whom a cellular phone number is included in the Osborn
    Spreadsheet but the ActiveCampaign Spreadsheet does not reflect that individual’s cellular phone
    number as having been sent an Osborn Text Message are also not Settlement Class Members

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                 and updating the addresses received through the National Change of Address

                 database, for the purpose of providing Mailed Notice if Email Notice is not possible;

          iv.    providing Email Notice for Settlement Class Members whose email addresses in the

                 Osborn Spreadsheet can reasonably be correlated to phone numbers in the

                 ActiveCampaign Spreadsheet;

           v.    providing Mailed Notice (to the extent reasonably ascertainable for Settlement Class

                 Members whose email addresses cannot reasonably be determined by cross-

                 referencing the Osborn Spreadsheet to the ActiveCampaign Spreadsheet or for whom

                 Email Notice bounces back);

          vi.    providing Long Form Notice;

         vii.    establishing and maintaining the Settlement Website;

         viii.   establishing and maintaining a post office box for requests for exclusion from the

                 Settlement Class;

          ix.    receiving, evaluating, and processing Claim Forms;

           x.    advising Settlement Class members if their Claim Forms are deficient;

          xi.    providing weekly reports about the Notice Plan and number and identity of opt-outs

                 (if any) to Class Counsel and Osborn’s counsel;

         xii.    establishing and maintaining an automated and live operator toll-free telephone line

                 for Settlement Class members to call with Settlement-related inquiries, and answer

                 the questions of Settlement Class members who call with or otherwise communicate

                 such inquiries;

         xiii.   responding to any Settlement Class member inquiries;

         xiv.    processing all requests for exclusion from the Settlement Class;



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          xv.    at Class Counsel’s request in advance of the Final Approval Hearing, preparing an

                 affidavit to submit to the Court that identifies each Settlement Class Member who

                 timely and properly requested exclusion from the Settlement Class;

         xvi.    performing the duties of Escrow Agent as described in this Agreement, and any other

                 Settlement-administration-related function at the instruction of Class Counsel and

                 Osborn, including, but not limited to, verifying that Settlement Funds have been

                 distributed as required;

        xvii.    distributing Settlement Fund Payments;

        xviii.   repaying to BCS Insurance Company the Settlement Fund in the event of a

                 termination of the Settlement pursuant to this Agreement;

         xix.    repaying to BCS Insurance Company the difference (if any) between the estimated

                 $75,000 for Notice and Administration Costs and the actual Notice and

                 Administration Costs;

          xx.    repaying to BCS Insurance Company the actual Notice and Administration Costs up

                 to $75,000 from any Settlement Distribution Checks that remain uncashed after 180

                 days from the date of issuance;

         xxi.    In the event there are additional funds in the Settlement Fund after the distribution of

                 the Settlement Fund Payments and after repaying to BCS Insurance Company the

                 monies set forth in xix and xx above; making a second distribution to Settlement

                 Class Members if the remaining amount is sufficient to do so; and

        xxii.    performing the duties of Tax Administrator described in this Agreement, and any

                 other Settlement-administration and tax-related function at the instruction of Class

                 Counsel and Osborn.



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    VI.   Notice to the Settlement Class

    40.   Upon Preliminary Approval of the Settlement, at the direction of Class Counsel, the Notice

          Administrator shall implement the Notice Program provided herein, using the forms of

          Notice approved by the Court in the Preliminary Approval Order. The Notice shall include,

          among other information: a description of the material terms of the Settlement, including

          how to file a Claim Form, a date by which Settlement Class members may exclude

          themselves from or “opt-out” of the Settlement Class; a date by which Settlement Class

          Members may object to the Settlement; the date upon which the Final Approval Hearing is

          scheduled to occur; and the address of the Settlement Website at which Settlement Class

          Members may access this Agreement and other related documents and information. Class

          Counsel and Osborn shall insert the correct dates and deadlines in the Notice before the

          Notice Program commences, based upon those dates and deadlines set by the Court in the

          Preliminary Approval Order. Emailed and Mailed Notices shall not bear or include the

          Osborn logo or trademarks or the return address of Osborn, or otherwise be styled to appear

          to originate from Osborn. Ownership of the Settlement Website URL shall be transferred

          to Osborn within 10 days of the date on which operation of the Settlement Website ceases,

          which shall be one year following distribution of the Net Settlement Fund to Settlement

          Class Claimants, or such other date as Class Counsel and Osborn may agree upon in

          writing.

    41.   The Notice shall include a procedure for Settlement Class members to opt-out of the

          Settlement Class. A Settlement Class member may opt-out of the Settlement Class at any

          time during the Opt-Out Period. Any Settlement Class member who does not timely and

          validly request to opt-out shall be bound by the terms of this Agreement.



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    42.   The Notice shall include a procedure for Settlement Class Members to object to the

          Settlement and/or to Class Counsel’s application for attorneys’ fees, costs and expenses

          and/or a Service Award to the Class Representative. Objections to the Settlement, to the

          application for fees, costs, expenses and/or for the Service Award must be mailed to the

          Clerk of the Court, Class Counsel, and Osborn’s counsel. For an objection to be considered

          by the Court, the objection must be submitted no later than the last day of the Opt-Out

          Period, as specified in the Notice. If submitted by mail, an objection shall be deemed to

          have been submitted when posted if received with a postmark date indicated on the

          envelope, mailed first-class postage prepaid and addressed in accordance with the

          instructions. If submitted by private courier (e.g., FedEx), an objection shall be deemed to

          have been submitted on the shipping date reflected on the shipping label.

    43.   The Parties will include in the motion for Preliminary Approval and draft order the

          following recommendations to the Court for the requirements for any objections to be valid

          and considered by the Court:

             a. the name of the Action;

             b. the objector’s full name, address and telephone number;

             c. an explanation of the basis upon which the objector claims to be a Settlement Class

                 Member;

             d. all grounds for the objection, accompanied by any legal support for the objection

                 known to the objector or his counsel;

             e. the number of times in which the objector has objected to a class action settlement

                 within the five years preceding the date that the objector files the objection, the

                 caption of each case in which the objector has made such an objection, and a copy



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                 of any orders related to or ruling upon the objector’s prior such objections that were

                 issued by the trial and appellate courts in each listed case;

             f. the identity of all counsel who represent the objector, including any former or

                 current counsel who may be entitled to compensation for any reason related to the

                 objection to the Settlement or fee application;

             g. a copy of any orders related to or ruling upon counsel’s or the counsel’s law firm’s

                 prior objections made by individuals or organizations represented by that were

                 issued by the trial and appellate courts in each listed case in which the objector’s

                 counsel and/or counsel’s law firm have objected to a class action settlement within

                 the preceding 5 years the objector’s counsel;

             h. any and all agreements that relate to the objection or the process of objecting—

                 whether written or oral—between objector or objector’s counsel and any other

                 person or entity;

             i. the identity of all counsel (if any) representing the objector who will appear at the

                 Final Approval Hearing;

             j. a statement confirming whether the objector intends to personally appear and/or

                 testify at the Final Approval Hearing;

             k. a list of all persons who will be called to testify at the Final Approval Hearing in

                 support of the objection; and

             l. the objector’s signature (an attorney’s signature is not sufficient).

    44.   Notice shall be provided to Settlement Class Members in four different ways: Email

          Notice, Mailed Notice(for Settlement Class Members whose email addresses are not in the

          Osborn Spreadsheet or the email address cannot reasonably be determined by cross-



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          referencing the Osborn Spreadsheet to the ActiveCampaign Spreadsheet or for whom

          Email Notice bounces back, provided addresses are reasonably ascertainable); Online

          Notice, if necessary in the judgment of the Notice Administrator to provide adequate reach

          to constitute best notice practicable; and Long-Form Notice on the Settlement Website and

          to be sent to Settlement Class Members upon request. Not all Settlement Class Members

          will receive all forms of Notice.

    45.   The Notice Administrator shall administer the Email Notice Program, which shall consist

          of an email containing the Email Notice sent to all Settlement Class Members for whom

          email addresses can reasonably be cross-referenced to a cellphone number in the

          ActiveCampaign Spreadsheet. The Email Notice Program shall be completed no later than

          70 days before the Final Approval Hearing. The Notice Administrator shall provide Class

          Counsel and Osborn with an affidavit that confirms that Email Notice was given in

          accordance with the Email Notice Program.

    46.   For Settlement Class Members whose email address cannot reasonably be determined by

          cross-referencing the Osborn Spreadsheet to the ActiveCampaign Spreadsheet or for whom

          Email Notice bounces back, the Settlement Administrator shall perform reverse telephone

          number look ups, shall run addresses through the National Change of Address Database,

          and shall, to the extent reasonably possible, mail to all Settlement Class Members for whom

          email addresses cannot be reasonably ascertained postcards that contain details about the

          Settlement (“Initial Mailed Notice”). To coordinate the Mailed Notice Program with the

          Online Notice Program, following the Settlement Administrator’s receipt of the telephone

          numbers described herein, the Settlement Administrator shall promptly inform the Notice

          Administrator that it has received the Osborn Spreadsheet and ActiveCampaign



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          Spreadsheet.

    47.   The Settlement Administrator shall perform reverse lookups and reasonable address traces

          for all individuals for whom an email address cannot reasonably be determined by cross-

          referencing the Osborn Spreadsheet to the ActiveCampaign Spreadsheet or for whom

          Email Notice bounces back. The Settlement Administrator shall also perform reasonable

          address traces for any individual to whom Mailed Notice is sent and returned as

          undeliverable. By way of example, a “reasonable” tracing procedure would be to run

          addresses through the LexisNexis database that can be utilized for such purpose. The

          Settlement Administrator shall complete the re-mailing of Mailed Notice to those

          Settlement Class members whose new addresses were identified as of that time through

          address traces (“Notice Re-mailing Process”). The Settlement Administrator’s continued

          efforts in providing Mailed Notice to individuals for whom an email address is not in the

          Osborn Spreadsheet or the email address cannot reasonably be determined by cross-

          referencing the Osborn Spreadsheet to the ActiveCampaign Spreadsheet or for whom

          Email Notice bounces back or Mailed Notice is returned as Undeliverable shall not affect

          or extend any Settlement Class member’s deadlines for objecting or opting out.

    48.   The Mailed Notice Program shall be completed no later than 45 days before the Final

          Approval Hearing. The Settlement Administrator shall provide Class Counsel and Osborn

          an affidavit that confirms that the Mailed Notice Program was completed in a timely

          manner. If it is necessary to ensure that best notice practicable has been provided, the

          Notice Administrator shall administer the Online Notice Program, which shall be

          completed no later than 70 days before the Final Approval Hearing.           The Notice

          Administrator shall provide Class Counsel and Osborn with an affidavit that confirms that



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           Online Notice was given in accordance with the Online Notice Program.

    49.    Within the parameters set forth in this Agreement, further specific details of the Notice

           Program shall be subject to the agreement of Class Counsel and Osborn.

    VII.   Final Approval Order and Judgment

    50.    The Plaintiff’s Motion for Preliminary Approval of the Settlement will include a request to

           the Court for a scheduled date on which the Final Approval Hearing will occur. Plaintiff

           shall file her Motion for Final Approval of the Settlement, and her application for attorneys’

           fees, costs, and expenses and for a Service Award for the Class Representative, no later

           than 45 days prior to the Final Approval Hearing. At the Final Approval Hearing, the Court

           will hear argument on Plaintiff’s Motion for Final Approval of the Settlement, and on Class

           Counsel’s application for attorneys’ fees, costs, and expenses and for a Service Award for

           the Class Representative. In the Court’s discretion, the Court also will hear argument at

           the Final Approval Hearing from any Settlement Class Members (or their counsel) who

           object to the Settlement or to the fee, cost, expense or Service Award application, provided

           the objectors submitted timely objections that meet all of the requirements listed in the

           preliminary approval order and notice.

    51.    At or following the Final Approval Hearing, the Court will determine whether to enter the

           Final Approval Order granting Final Approval of the Settlement and entering final

           judgment thereon, and whether to approve Class Counsel’s request for attorneys’ fees,

           costs, expenses, and a Service Award. The proposed Final Approval Order shall be in a

           form agreed upon by Class Counsel and Osborn. Such proposed Final Approval Order

           shall, among other things:

           a.     Determine that the Settlement is fair, adequate and reasonable;



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          b.     Finally certify the Settlement Class for settlement purposes only;

          c.     Determine that the Notice provided satisfies Due Process requirements;

          d.     Enter judgment dismissing the Action with prejudice and without costs, except as

                 set forth in this Agreement;

          e.     Bar and enjoin all Releasing Parties from asserting any of the Released Claims,

                 including during any appeal from the Final Approval Order;

          f.     Release Osborn and the Released Parties from the Released Claims; and

          g.     Reserve the Court’s continuing and exclusive jurisdiction over the Parties to this

                 Agreement, including Osborn, all Settlement Class Members, and all objectors, to

                 administer, supervise, construe and enforce this Agreement in accordance with its

                 terms.

    VIII. Settlement Fund

    52.   In exchange for the mutual promises and covenants in this Agreement, including, without

          limitation, the Releases and the dismissal of the Action upon Final Approval, within 30

          calendar days of Preliminary Approval, BCS Insurance Company, on behalf of Osborn,

          shall deposit the $800,000.00 Settlement Fund into the Escrow Account. In no event shall

          BCS Insurance Company or Osborn be responsible for any claims, fees, or Settlement

          Costs exceeding the amount of the $800,000 settlement payment.

    53.   Upon the establishment of the Escrow Account, the Escrow Agent may, but shall not be

          required to, cause the funds in the Escrow Account to be invested, in whole or in part, in

          interest-bearing short-term instruments or accounts—to be agreed upon by Class Counsel

          and Osborn —that are backed by the full faith and credit of the United States Government

          or that are fully insured by the United States Government or an agency thereof (the



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          “Instruments”). The Escrow Agent may thereafter re-invest the interest proceeds and the

          principal as they mature in similar Instruments, bearing in mind the liquidity requirements

          of the Escrow Account to ensure that it contains sufficient cash available to pay all invoices,

          taxes, fees, costs and expenses, and other required disbursements, in a timely manner.

          Notwithstanding the foregoing, that portion of the Settlement Fund that the Settlement

          Administrator reasonably estimates needs to be available on a liquid basis to pay on-going

          costs of settlement administration, as provided in this Agreement, may be placed in one or

          more insured accounts that may be non-interest-bearing. Except as otherwise specified

          herein, the Instruments at all times will remain in the Escrow Account and under the control

          of the Escrow Agent. The Escrow Agent shall communicate with Class Counsel and

          counsel for Osborn on at least a monthly basis to discuss potential cash needs for the

          following month.     All costs or fees incurred in connection with investment of the

          Settlement Fund in the Instruments shall not constitute a cost of settlement administration

          to be paid by BCS Insurance Company or Osborn, but shall instead be payable out of the

          Settlement Fund.

    54.   The Settlement Fund at all times shall be deemed a “qualified settlement fund” within the

          meaning of United States Treasury Reg. § 1.468B-l. All taxes (including any estimated

          taxes, and any interest or penalties relating to them) arising with respect to the income

          earned by the Settlement Fund or otherwise, including any taxes or tax detriments that may

          be imposed upon Osborn or its counsel, or Plaintiff or Class Counsel, with respect to

          income earned by the Settlement Fund for any period during which the Settlement Fund

          does not qualify as a “qualified settlement fund” for the purpose of federal or state income

          taxes or otherwise (collectively “Taxes”), shall be paid out of the Settlement Fund.



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          Plaintiff and Class Counsel, and BCS Insurance Company and Osborn and its counsel, shall

          have no liability or responsibility for any of the Taxes. The Settlement Fund shall

          indemnify and hold Plaintiff and Class Counsel, and BCS Insurance Company and Osborn

          and its counsel, harmless for all Taxes (including, without limitation, Taxes payable by

          reason of any such indemnification).

    55.   The Settlement Fund shall be used for the following purposes:

          a.     Distribution of Settlement Fund Payments to Settlement Class Claimants;

          b.     Payment of any Court-ordered award of Class Counsel’s attorneys’ fees, costs, and

                 expenses;

          c.     Payment of any Court-ordered Service Award to the Class Representative;

          d.     Payment of any secondary and/or residual distribution, together with any

                 administrative costs associated therewith;

          e.     Payment of all Taxes, including, without limitation, taxes owed as a result of

                 accrued interest on the Escrow Account, in a timely manner consistent with the

                 recommendation of the Tax Administrator, subject to approval by Class Counsel

                 and Osborn; and

          f.     Payment of additional fees, costs and expenses not specifically enumerated in

                 subparagraphs (a) through (e) of this paragraph, subject to approval of Class

                 Counsel and Osborn.

    IX.   Calculation of Distributions from Settlement Fund

    56.   Each Settlement Class member who timely files with the Settlement Administrator a valid

          Claim Form shall automatically receive a cash distribution payable by check. The amount

          of each cash distribution shall be determined by the following formula: Net Settlement



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             Fund divided by total number of Settlement Class Members = Settlement Fund Payment.

    X.       Distribution of Settlement Fund, Disposition of Residual Funds

    57.      The Settlement Administrator shall distribute the funds in the Settlement Fund in the

             following order and within the time period set forth with respect to each such payment:

          a. First, to the Class Representative any Service Award and to Class Counsel any attorneys’

             fees and costs ordered by the Court, subject to the following:

                     a. If the Final Approval Order as issued by the Court has no objections to the

                        Settlement, the payment of the Service Award and any attorneys’ fees and costs

                        shall made by the Settlement Administrator within five days of the Final Approval

                        Order; or

                     b. In all other cases, the payment of the Service Award and attorneys’ fees and costs

                        shall be made within five days of the Effective Date.

          b. Next, no later than 45 days following the Effective Date, the Settlement Class Claimants

             shall be sent their Settlement Fund Payments;

          c. Next, four months after the date the Settlement Administrator mails the first round of

             Settlement Fund Payments, any residual funds in the Settlement Fund shall be distributed

             as follows:

                i.      First, any Settlement Fund Payments that remain uncashed after 180 days from

                        issuance shall first go to BCS Insurance Company to cover Notice and

                        Administration Costs of up to $75,000 (or the amount of actual Notice and

                        Administration Costs if such costs are less than $75,000 in light of ii below);

               ii.      Second, the difference (if any) between the estimated Notice and Administration

                        Costs of $75,000 and the actual Notice and Administration Costs shall be refunded



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                  to BCS Insurance Company;

           iii.   Third, any remaining funds after i. and ii. above shall be distributed on a pro rata

                  basis to participating Settlement Class Claimants who received and cashed

                  Settlement Fund Payments, to the extent feasible and practical in light of the costs

                  of administering such subsequent payments, unless other specific reasons exist that

                  would make such further distributions impossible or unfair;

           iv.    Finally, in the event the costs of preparing, transmitting and administering such

                  subsequent payments are not feasible and practical to make individual distributions

                  or other specific reasons exist that would make such further distributions impossible

                  or unfair, Class Counsel and Osborn shall file recommendations with the Court for

                  distribution of the residual funds consistent with the American Law Institute,

                  Principles of Aggregate Litigation § 3.07(c), together with supporting materials.

                  The Court shall have the discretion to approve, deny, amend or modify, in whole

                  or in part, the proposed recommendations for distribution of the residual funds in a

                  manner consistent with the American Law Institute, Principles of Aggregate

                  Litigation § 3.07(c). The Parties agree that any residual funds shall not be used for

                  any litigation purpose or to disparage any Party. The Parties further agree that the

                  Court’s approval, denial, amendment or modification, in whole or in part, of the

                  recommendations for distribution of the residual funds pursuant to this paragraph

                  shall not constitute grounds for termination of the Settlement pursuant to this

                  Agreement; and

            v.    All costs associated with the disposition of residual funds – whether through

                  additional distributions to Settlement Class Claimants and/or through an alternative



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                 plan approved by the Court – shall be borne solely by the Settlement Fund.

    XI.   Claims Process

    58.   Each member of the Settlement Class who does not timely opt-out from the Settlement

          shall be a Settlement Class Member and entitled to make a Claim. Each Settlement Class

          Member shall be entitled to make one Claim per associated unique cellular telephone

          number that received an Osborn Message, regardless of the number of Osborn Messages

          the Settlement Class Member received.

    59.   To make a Claim, Settlement Class members must submit by the Claims Deadline a valid

          and timely Claim Form, a copy of which is attached hereto as EXHIBIT 4 (and incorporated

          into the Mailed Notice and Email Notice), by U.S. mail or through the Settlement Website.

          The Claim Form shall contain the Settlement Class member’s: (1) name; (2) current

          address; (3) cellular telephone number(s) at which she or he was sent an Osborn Message;

          (4) a current contact telephone number; and (V) representation under oath that he or she

          received an Osborn Message. If a Settlement Class member fails to fully complete a Claim

          Form, the Claim Form will be invalid and rejected by the Settlement Administrator. The

          Settlement Administrator will then attempt to notify the Settlement Class member that his

          or her Claim Form was deficient and rejected. Any Settlement Class member who submits

          an incomplete or inaccurate Claim Form shall be permitted to re-submit a Claim Form by

          the later of the Claims Deadline or 15 days of the sending of notice of the defect by the

          Settlement Administrator.

    60.   Settlement Fund Payments shall be sent to Settlement Class Claimants by the Settlement

          Administrator via U.S. mail. If any Settlement Fund Payments are returned, the Settlement

          Administrator shall attempt to obtain a new mailing address for that Settlement Class



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           Claimant. If after a second mailing, the Settlement Fund Payment is again returned, no

           further efforts need be taken by the Settlement Administrator to resend the check. Each

           Settlement Fund Payment will be negotiable for 90 days after it is issued.

    XII.   Releases

    61.    Upon the Effective Date of the Settlement, Plaintiff and all Settlement Class Members,

           each on behalf of himself or herself and on behalf of his or her respective heirs, assigns,

           beneficiaries, and successors, shall automatically be deemed to have fully and irrevocably

           released and forever discharged Osborn and each of its present and former parents,

           subsidiaries, divisions, affiliates, predecessors, successors and assigns, and the present and

           former directors and officers, including Dr. Brett Osborn individually, employees, insurers,

           shareholders, attorneys, advisors, consultants, representatives, partners, joint venturers,

           agents, independent contractors, text messaging service providers, wholesalers, resellers,

           distributors, retailers, predecessors, successors, and assigns of each of them, of and from

           any and all liabilities, rights, claims, actions, causes of action, demands, damages, costs,

           attorneys’ fees, losses, and remedies, whether known or unknown, existing or potential,

           suspected or unsuspected, liquidated or unliquidated, legal, statutory, or equitable, that

           result from, arise out of, are based upon, or relate to the conduct, omissions, duties or

           matters at any time from the beginning of the Class Period through the date an order

           preliminary approving the Settlement Agreement is entered by the Court, that were or could

           have been claimed, raised, or alleged in this Action to the extent they arise from or relate

           to Osborn Messages sent by or on behalf of Osborn.

    XIII. Payment of Attorneys’ Fees, Costs, and Service Awards

    62.    Osborn agrees not to oppose Class Counsel’s request for attorneys’ fees of up to 33.33%



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          of the Settlement Fund and not to oppose Class Counsel’s request for reimbursement of

          costs and expenses. Any award of attorneys’ fees, costs, and expenses to Class Counsel

          shall be payable solely out of the Settlement Fund. The determination of Class Counsel’s

          request for attorneys’ fees shall be based on controlling Eleventh Circuit precedent

          involving the award of fees in common fund class actions and not based on state law. The

          Parties agree that the Court’s failure to approve, in whole or in part, any award for

          attorneys’ fees shall not prevent the Settlement from becoming effective, nor shall it be

          grounds for termination.

    63.   The Escrow Agent shall pay from the Settlement Fund to Class Counsel all Court-approved

          attorneys’ fees, costs, and expenses of Class Counsel, including interest accrued thereon.

          Osborn shall have no responsibility for any allocation, and no liability whatsoever to any

          person or entity claiming any share of the funds to be distributed.

    64.   Class Counsel will ask the Court to approve a Service Award of $7,500. The Service

          Award is to be paid from the Settlement Fund. The Service Award shall be paid to the

          Class Representative in addition to the Class Representative’s Settlement Fund Payment.

          Osborn agrees not to oppose Class Counsel’s request for the Service Award.

    65.   The Parties negotiated and reached agreement regarding attorneys’ fees and costs, and the

          Service Award, only after reaching agreement on all other material terms of this Settlement.

    XIV. Termination of Settlement

    66.   This Settlement may be terminated by either Class Counsel or Osborn by serving on

          counsel for the opposing Party and filing with the Court a written notice of termination

          within 30 days (or such longer time as may be agreed in writing between Class Counsel

          and Osborn) after any of the following occurrences:



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          a.     the Court fails to preliminarily approve the Settlement within 180 days after filing

                 of the motion for preliminary approval, or fails to finally approve the Settlement

                 within 360 days of Preliminary Approval by the Court;

          b.     an appellate court vacates or reverses the Final Approval Order, and the Settlement

                 is not reinstated and finally approved without material change by the Court on

                 remand within 270 days of such reversal;

          c.     if the number of opt outs exceed 100 and Osborn, within 10 days of the Opt Out

                 deadline, gives written notice of its decision to void the settlement; or

          d.     the Effective Date does not occur.

    XV.   Effect of a Termination

    67.   In the event of a termination, this Agreement shall be considered null and void; all of

          Plaintiff’s, Class Counsel’s, and Osborn’s obligations under the Settlement shall cease to

          be of any force and effect; the amounts in the Settlement Fund shall be returned to BCS

          Insurance Company; and the Parties shall return to the status quo ante in the Action as if

          the Parties had not entered into this Agreement. In addition, in the event of such a

          termination, all of the Parties’ respective pre-Settlement rights, claims and defenses will

          be retained and preserved.

    68.   In the event of a termination as, and after payment of any invoices or other fees or expenses

          mentioned in this Agreement that have been incurred and are due to be paid by BCS

          Insurance Company on behalf of Osborn, pursuant to its obligation to pay settlement

          expenses directly, the Escrow Agent shall return the balance of the Settlement Fund to BCS

          Insurance Company within 5 business days of termination.

    69.   The Settlement shall become effective on the Effective Date unless earlier terminated.



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    70.   In the event the Settlement is terminated, any discussions, offers, or negotiations associated

          with this Settlement shall not be discoverable or offered into evidence or used in the Action

          or any other action or proceeding for any purpose. In such event, all Parties to the Action

          shall stand in the same position as if this Agreement had not been negotiated, made or filed

          with the Court.

    XVI. No Admission of Liability; Non-Disparagement

    71.   Osborn continues to dispute its liability for the claims alleged in the Action, and maintains

          that its complied, at all times, with applicable laws and regulations. Osborn does not by

          this Agreement or otherwise admit any liability or wrongdoing of any kind. Osborn has

          agreed to enter into this Agreement to avoid the further expense, inconvenience, and

          distraction of burdensome and protracted litigation, and to be completely free of any further

          claims that were asserted or could have been asserted in the Action.

    72.   Class Counsel believes that the claims asserted in the Action have merit, and they have

          examined and considered the benefits to be obtained under the proposed Settlement set

          forth in this Agreement, the risks associated with the continued prosecution of this

          complex, costly and time-consuming litigation, and the likelihood of success on the merits

          of the Action. Class Counsel fully investigated the facts and law relevant to the merits of

          the claims, and conducted extensive discovery.

    73.   Class Counsel concluded that the proposed Settlement set forth in this Agreement is fair,

          adequate, reasonable, and in the best interests of the Settlement Class.

    74.   The Parties understand and acknowledge that this Agreement constitutes a compromise

          and settlement of disputed claims. No action taken by the Parties either previously or in

          connection with the negotiations or proceedings connected with this Agreement shall be



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          deemed or construed to be an admission of the truth or falsity of any claims or defenses

          heretofore made, or an acknowledgment or admission by any party of any fault, liability or

          wrongdoing of any kind whatsoever.

    75.   Neither the Settlement, nor any act performed or document executed pursuant to or in

          furtherance of the Settlement: (a) is or may be deemed to be, or may be used as, an

          admission of, or evidence of, the validity of any claim made by the Plaintiff or Settlement

          Class Members, or of any wrongdoing or liability of the Released Parties; or (b) is or may

          be deemed to be, or may be used as, an admission of, or evidence of, any fault or omission

          of any of the Released Parties, in the Action or in any proceeding in any court,

          administrative agency or other tribunal.

    76.   In addition to any other defenses Osborn may have at law, in equity, or otherwise, to the

          extent permitted by law, this Agreement may be pleaded as a full and complete defense to,

          and may be used as the basis for an injunction against, any action, suit or other proceeding

          that may be instituted, prosecuted or attempted in breach of this Agreement or the Releases

          contained herein.

    XVII. Miscellaneous Provisions

    77.   Gender and Plurals. As used in this Agreement, the masculine, feminine or neuter gender,

          and the singular or plural number, shall each be deemed to include the others whenever the

          context so indicates.

    78.   Binding Effect. This Agreement shall be binding upon, and inure to the benefit of, the

          successors and assigns of the Releasing Parties and the Released Parties.

    79.   Cooperation of Parties. The Parties to this Agreement agree to cooperate in good faith to

          prepare and execute all documents, to seek Court approval, uphold Court approval, and do



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          all things reasonably necessary to complete and effectuate the Settlement described in this

          Agreement. This obligation of the Parties to support and complete the Settlement shall

          remain in full force and effect regardless of events that may occur.

    80.   Obligation To Meet And Confer. Before filing any motion in the Court raising a dispute

          arising out of or related to this Agreement, the Parties shall consult with each other and

          certify to the Court that they have consulted.

    81.   Integration. This Agreement constitutes a single, integrated written contract expressing the

          entire agreement of the Parties relative to the subject matter hereof. No covenants,

          agreements, representations, or warranties of any kind whatsoever have been made by any

          Party hereto, except as provided for herein.

    82.   No Conflict Intended. Any inconsistency between the headings used in this Agreement

          and the text of the paragraphs of this Agreement shall be resolved in favor of the text.

    83.   Governing Law. Except as otherwise provided herein, the Agreement shall be construed

          in accordance with, and be governed by, the laws of the State of Florida, without regard to

          the principles thereof regarding choice of law.

    84.   Counterparts. This Agreement may be executed in any number of counterparts, each of

          which shall be deemed an original, but all of which together shall constitute one and the

          same instrument, even though all Parties do not sign the same counterparts. Original

          signatures are not required. Any signature submitted by facsimile or through email of an

          Adobe PDF shall be deemed an original.

    85.   Jurisdiction. The Court shall retain jurisdiction over the implementation, enforcement, and

          performance of this Agreement, and shall have exclusive jurisdiction over any suit, action,

          proceeding or dispute arising out of or relating to this Agreement that cannot be resolved



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          by negotiation and agreement by counsel for the Parties. The Court shall retain jurisdiction

          with respect to the administration, consummation and enforcement of the Agreement and

          shall retain jurisdiction for the purpose of enforcing all terms of the Agreement. The Court

          shall also retain jurisdiction over all questions and/or disputes related to the Notice

          program, the Settlement Administrator, the Notice Administrator, the Tax Administrator,

          and the Escrow Agent. As part of their respective agreements to render services in

          connection with this Settlement, the Settlement Administrator, the Notice Administrator,

          the Tax Administrator, and the Escrow Agent shall consent to the jurisdiction of the Court

          for this purpose.

    86.   Notices. All notices to Class Counsel provided for herein, shall be sent by email with a

          hard copy sent by overnight mail to:


                 Scott Edelsberg, Esq.
                 Edelsberg Law, PA
                 2875 NE 191st #703
                 Aventura, FL 33180

          All notices to Osborn, provided for herein, shall be sent by email with a hard copy sent by

          overnight mail to:


                 Paul Karlsgodt
                 BAKER HOSTETLER
                 1801 California Street, Suite 4400
                 Denver, CO 80202
                 Email: pkarlsgodt@bakerlaw.com

          The notice recipients and addresses designated above may be changed by written notice.

          Upon the request of any Party, the Parties agree to promptly provide each other with copies

          of objections, requests for exclusion, or other filings received as a result of the Notice

          program.


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    87.   Modification and Amendment. This Agreement may not be amended or modified, except

          by a written instrument signed by Class Counsel and counsel for Osborn and, if the

          Settlement has been approved preliminarily by the Court, approved by the Court.

    88.   No Waiver. The waiver by any Party of any breach of this Agreement by another Party

          shall not be deemed or construed as a waiver of any other breach, whether prior,

          subsequent, or contemporaneous, of this Agreement.

    89.   Authority. Class Counsel (for the Plaintiff and the Settlement Class Members), and counsel

          for Osborn, represent and warrant that the persons signing this Agreement on their behalf

          have full power and authority to bind every person, partnership, corporation or entity

          included within the definitions of Plaintiff and Osborn to all terms of this Agreement. Any

          person executing this Agreement in a representative capacity represents and warrants that

          he or she is fully authorized to do so and to bind the Party on whose behalf he or she signs

          this Agreement to all of the terms and provisions of this Agreement.

    90.   Agreement Mutually Prepared. Neither Osborn nor Plaintiff, nor any of them, shall be

          considered to be the drafter of this Agreement or any of its provisions for the purpose of

          any statute, case law, or rule of interpretation or construction that would or might cause

          any provision to be construed against the drafter of this Agreement.

    91.   Independent Investigation and Decision to Settle. The Parties understand and acknowledge

          that they: (a) have performed an independent investigation of the allegations of fact and

          law made in connection with this Action; and (b) that even if they may hereafter discover

          facts in addition to, or different from, those that they now know or believe to be true with

          respect to the subject matter of the Action as reflected in this Agreement, that will not affect

          or in any respect limit the binding nature of this Agreement. Osborn has provided or will



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          provide the Osborn Spreadsheet to the Notice Administrator . It is the Parties’ intention to

          resolve their disputes in connection with this Action pursuant to the terms of this

          Agreement now and thus, in furtherance of their intentions, the Agreement shall remain in

          full force and effect notwithstanding the discovery of any additional facts or law, or

          changes in law, and this Agreement shall not be subject to rescission or modification by

          reason of any changes or differences in facts or law, subsequently occurring or otherwise.

    92.   Receipt of Advice of Counsel. Each Party acknowledges, agrees, and specifically warrants

          that he, she or it has fully read this Agreement and the Release, received independent legal

          advice with respect to the advisability of entering into this Agreement and the Release and

          the legal effects of this Agreement and the Release, and fully understands the effect of this

          Agreement and the Release.

    93.   Class Counsel will return or destroy all copies of discovery materials obtained in this

          litigation from Defendants or third parties within thirty (30) days after the Effective Date.

                                     (signatures on following page)




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                      EXHIBIT 1
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                If You Received a Text Message and/or Voicemail Message from Brett A. Osbron, D.O.,
                                                   PLLC,
                         You May Be Entitled to a Payment from a Class Action Settlement.

                  Si desea recibir esta notificación en español, llámenos o visite nuestra página web.

    An $800,000.00 fund has been reached in a class action lawsuit concerning claims that Brett A.
    Osbron, D.O., PLLC (“Osborn”) sent text messages and ringless voicemials to wireless telephone
    numbers without express written consent of the recipients in violation of the Telephone Consumer
    Protection Act, 47 U.S.C. § 227. Osborn denies the allegations in the lawsuit, and the Court has not
    decided who is right.

    Who’s Included? You received this email because Osborn’s records show that you may be a
    Settlement Class Member. The Settlement includes all persons in the United States who received one
    or more text messages and/or ringless voicemail sent by or on behalf of Osborn between September
    13, 2014 and the date of Final Approval.

    What Are the Settlement Terms? Osborn has agreed to pay $800,000.00 to create a fund that will be
    used to pay individuals who submit valid Claims, attorneys’ fees, a Service Award to the Class
    Representative, and costs and expenses of the litigation. The cash payments from the Settlement Fund
    will be distributed on a pro rata basis to Settlement Class Members who submit a valid Claim. Only
    one Claim is allowed per Settlement Class Member.

    How Can I Get a Payment? To get a payment, you must submit a Claim Form by U.S. mail or via
    email to info@DROTCPAsettlement.com. A Claim Form is attached to this notice. You may also
    download or file a Claim Form online at www.DROTCPAsettlement.com or call the Settlement
    Administrator at the toll-free number below to request a Claim Form. If you send in a Claim Form by
    regular mail, it must be postmarked on or before xxxxxxxxxx. The deadline to file a Claim online or
    via email is 11:59 p.m. EST on xxxxxxxxxx.

    Your Other Options. If you do not want to be legally bound by the Settlement, you must exclude
    yourself by xxxxxxxxxx. If you do not exclude yourself, you will release any claims you may have, as
    more fully described in the Settlement Agreement, available at the Settlement Website. You may object
    to the Settlement by xxxxxxxxxx. The Long Form Notice available on the Settlement Website listed
    below explains how to exclude yourself or object. The Court will hold a Final Approval Hearing on
    xxxxxxxxxx to consider whether to approve the Settlement, a request for attorneys’ fees of up to
    33.33% of the Settlement Fund, and a Service Award of $7,500 to the Class Representative. You are
    not required to, but you may appear at the hearing, either yourself or through an attorney you hire. For
    more information, call or visit the Settlement Website.

    www.DROTCPAsettlement.com                                                          1- 844-551-1722




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                      EXHIBIT 2
    Brett A. Osborn, D.O.,
18-cv-81222-DMM            PLLC 37-1 Entered on FLSD Docket 03/25/2019
                       Document                                             Page
                                                              FIRST-CLASS MAIL
    Settlement Administrator PO Box 6006                                                                     U.S. POSTAGE
                                                                                                                  PAID
    Portland, OR 97208-6006                                                                                   Portland, OR
                                                                                                            PERMIT NO. 2882




     Legal Notice about a Class Action Settlement

                                                                       <<BARCODE>>

                                                                       <<NAME1>>
                                                                       <<NAME2>>
                                                                       <<ADDRESS1>>
                                                                       <<ADDRESS2>>
                                                                       <<CITY, ST, ZIP>>
                                                                       <<COUNTRY>>




             <<Mail ID>>                                                                            Claim Form
    To submit a Claim for a payment from the Settlement Fund, please fill out the Claim Form below and submit it via
    email to info@DROTCPAsettlement.com or by U.S. mail. You may also file a Claim Form online at
    www.DROTCPAsettlement.com. The deadline to file a claim online or via email is 11:59 p.m. EST on XXXXXXXXXX. If
    you send in a Claim Form by regular mail, it must be postmarked on or before XXXXXXXXXX.
    *First Name:                                           *MI:     *Last Name:


    *Address:


    *City:                                                                            *State:        *ZIP Code:


    *Cellular Telephone Number that received one or more texts from TDJC:
                      -                  -
    Telephone Number where you can be reached if different from above:
                      -                  -
    Your Email Address:


    *I declare under penalty of perjury that to the best of my knowledge I received one (1) or more text messages and/or
    ringless voicemail sent by or on behalf of Osborn.
    *Signature:                                                                                  *Date (MM/DD/YY):


                              *Denotes Information You Must Provide To Have A Valid Claim
                            Questions? Visit www.DROTCPAsettlement.com or call 1-844-551-1722

  000004/00995239_1
        If You Received
18-cv-81222-DMM         a Text 37-1
                    Document    Message a n d /on
                                     Entered   o r FLSD
                                                   V o i c eDocket
                                                            m a i l M03/25/2019
                                                                      e s s a g e fromPage
            Brett A. Osborn, D.O., PLLC, LLC, You May Be Entitled to a Payment from a
                                                  Class Action Settlement.
                          Si desea recibir esta notificación en español, llámenos o visite nuestra página web.

An $800,000.00 fund has been reached in a class action lawsuit concerning claims that Brett A. Osborn, D.O., PLLC (“Osborn”) sent
text messages and ringless voicemails o wireless telephone numbers without express written consent of the recipients in violation of
the Telephone Consumer Protection Act, 47 U.S.C. § 227. TDCJ denies the allegations in the lawsuit, and the Court has not decided
who is right.

Who’s Included? You received this email because Osborn’s records show that you may be a Settlement Class Member. The
Settlement includes all persons in the United States who received one or more text messages and/or ringless vociemail sent by or on
behalf of Osborn between September 13, 2014 and the date of Final Approval.

What Are the Settlement Terms? Osborn has agreed to pay $800,000.00 to create a fund that will be used to pay individuals who
submit valid Claims, attorneys’ fees, a Service Award to the Class Representative, and costs and expenses of the litigation. The cash
payments from the Settlement Fund will be distributed on a pro rata basis to Settlement Class Members who submit a valid Claim.
Only one Claim is allowed per Settlement Class Member.

How Can I Get a Payment? To get a payment, you must submit a Claim Form by U.S. mail or via email to
info@DROTCPAsettlement.com. A Claim Form is attached to this notice. You may also download or file a Claim Form online at
www.DROTCPAsettlement.com or call the Settlement Administrator at the toll-free number below to request a Claim Form. If you
send in a Claim Form by regular mail, it must be postmarked on or before xxxxxxxxxx. The deadline to file a Claim online or via
email is 11:59 p.m. EST on xxxxxxxxxx.

Your Other Options. If you do not want to be legally bound by the Settlement, you must exclude yourself by xxxxxxxxxx. If you do
not exclude yourself, you will release any claims you may have, as more fully described in the Settlement Agreement, available at the
Settlement Website. You may object to the Settlement by xxxxxxxxxx. The Long Form Notice available on the Settlement Website
listed below explains how to exclude yourself or object. The Court will hold a Final Approval Hearing on xxxxxxxxxx to consider
whether to approve the Settlement, a request for attorneys’ fees of up to 33.33% of the Settlement Fund, and a Service Award of
$7,500 to the Class Representative. You are not required to, but you may appear at the hearing, either yourself or through an attorney
you hire.. For more information, call or visit the Settlement Website.

            www.DROTCPAsettlement.com



                                                                                                                  NO POSTAGE
                                                                                                                  NECESSARY
                                                                                                                   IF MAILED
                                                                                                                     IN THE
                                                                                                                 UNITED STATES




               BUSINESS REPLY MAIL
               FIRST-CLASS MAIL               PERMIT NO 581               PORTLAND OR
                            POSTAGE WILL BE PAID BY ADDRESSEE




000004/00995239_1
        OSBORN TCPA
18-cv-81222-DMM     SETTLEMENT
                Document       ADMINISTRATOR
                         37-1 Entered on FLSD Docket 03/25/2019 Page
               PO BOX 6006
               PORTLAND OR 97208-6006




000004/00995239_1
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                      EXHIBIT 3
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                       UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF FLORIDA


            If You Were Sent a Text Message and/or
         Voicemail Message from Brett A. Osbron, D.O.,
        PLLC, You May Be Entitled to a Payment from a
                    Class Action Settlement.
           A federal court authorized this Notice. You are not being sued. This is not a solicitation from a lawyer.
       •    A Settlement 1 has been reached in a class action lawsuit concerning claims that Brett A.
            Osbron, D.O., PLLC (“Osborn”) sent text messages and ringless voicemails to mobile
            telephone numbers without prior express written consent of the recipients in violation of the
            Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”). Osborn denies the allegations
            in the lawsuit and the Court has not decided who is right.
       •    The Settlement offers payments to Settlement Class Members who file valid Claims.
       •    Your legal rights are affected whether you act or do not act. Read this Notice carefully.

                        YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
           SUBMIT A                 If you are a member of the Settlement Class, you must submit a
           CLAIM FORM               completed Claim Form to receive a payment. If the Court approves the
                                    Settlement and it becomes final and effective, and you remain in the
                                    Settlement Class, you will receive your payment by check.
           EXCLUDE                  You may request to be excluded from the Settlement and if you do, you
           YOURSELF                 will receive no benefits from the Settlement.

           OBJECT                   Write to the Court if you do not like the Settlement.

           GO TO A HEARING Ask to speak in court about the fairness of the Settlement.


           DO NOTHING               You will not receive a payment if you fail to timely submit a completed
                                    Claim Form, and you will give up your right to bring your own lawsuit
                                    against Osborn about the Claims in this case.

       •    These rights and options—and the deadlines to exercise them—are explained in this Notice.
       •    The Court in charge of this case still has to decide whether to approve the Settlement. If the
            Court does, and after any appeals are resolved, benefits will be distributed to those who submit
            qualifying Claim Forms. Please be patient.




1
 Capitalized terms herein have the same meanings as those defined in the Settlement Agreement, a copy
of which may be found online at the Settlement Website below.
                               QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                    www.DROTCPAsettlement.com
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                                         QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                            www.DROTCPAsettlement.com
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                                        BASIC INFORMATION
    1. Why is there a Notice?

  A court authorized this Notice because you have a right to know about a proposed Settlement of a class
  action lawsuit known as MCLEAN v. BRETT A. OSBORN, D.O., PLLC Case No. 18-cv-81222-DMM
  and about all of your options before the Court decides whether to give Final Approval to the
  Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.
  Judge Middlebrooks of the United States District Court, Southern District of Florida is overseeing this case.
  The person who sued, Mary Mclean, is called the “Plaintiff.” Osborn, is called the “Defendant.”

    2. What is this litigation about?

  The lawsuit alleges that Osborn sent text messages and ringless voicemails to Plaintiff’s and the
  Settlement Class Members wireless telephone numbers without prior express written consent in
  violation of the Telephone Consumer Protection Act 47 U.S.C. § 227 (“TCPA”) and seeks actual and
  statutory damages under the TCPA on behalf of the named Plaintiff and a class of all individuals in the
  United States.
  Osborn denies each and every allegation of wrongdoing, liability, and damages that were or could have
  been asserted in the litigation and denies that the claims in the litigation would be appropriate for class
  treatment if the litigation were to proceed through trial.
  The Plaintiff’s Complaint, Settlement Agreement, and other case-related documents are posted on the
  Settlement Website, www.DROTCPAsettlement.com. The Settlement resolves the lawsuit. The Court
  has not decided who is right.

    3. What is the Telephone Consumer Protection Act?

  The Telephone Consumer Protection Act (commonly referred to as the “TCPA”) is a federal law that
  restricts telephone solicitations and the use of automated telephone equipment. The Plaintiff here
  alleged that Osborn sent marketing text messages and/or ringless voicemails to individuals without the
  requisite prior written consent in violation of the TCPA.

    4. Why is this a class action?

  In a class action, one person called the “Class Representative” (in this case, Plaintiff Mary Mclean) sues
  on behalf of himself and other people with similar claims.
  All of the people who have claims similar to the Plaintiff’s are members of the Settlement Class, except
  for those who exclude themselves from the class.

    5. Why is there a settlement?

  The Court has not found in favor of either Plaintiff or Osborn. Instead, both sides have agreed to a
  settlement. By agreeing to the Settlement, the parties avoid the costs and uncertainty of a trial, and if
  the Settlement is approved by the Court, Settlement Class Members will receive the benefits described
  in this Notice. Osborn denies all liability in this case. Plaintiff and her lawyers think the proposed
  Settlement is best for everyone who is affected.


                                QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                   www.DROTCPAsettlement.com
                                                      3
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                            WHO IS PART OF THE SETTLEMENT
    6. Who is included in the Settlement?

  The Settlement includes all individuals (within or outside of the United States) (i) who were sent one
  or more text messages or voicemail messages (“Osborn Messages”) (ii) on his or her cellular telephone
  (iii) by or on behalf of Osborn, (iv) from September 13, 2014 through the date of Final Approval.
  Excluded from the Settlement Class are (A) Defendant, Defendant’s officers, Defendant’s directors,
  and their immediate family members; (B) Class Counsel; and (C) the judges who have presided over
  the litigation and their immediate family members.

    7. What if I am not sure whether I am included in the Settlement?

  If you are not sure whether you are in the Settlement Class or have any other questions about the
  Settlement, visit the Settlement Website at www.DROTCPAsettlement.com or call the toll-free
  number, 1-844-551-1722. You also may send questions to the Settlement Administrator at Osborn
  TCPA Settlement Administrator, P.O. Box 6006, Portland, OR 97208-6006.
                                 THE SETTLEMENT BENEFITS
    8. What does the Settlement provide?

  Osborn has agreed to pay $800,000.00 to create a cash Settlement Fund. The Settlement Fund will be
  used to pay all Settlement Costs, an attorneys’ fee award, and a Service Award to the Class
  Representative. The remaining Net Settlement Fund shall be distributed as cash payments to Settlement
  Class Members who submit valid Claims. The cash payments will be distributed on a pro rata basis to
  Settlement Class Members depending on the number of valid Claims filed. Each Settlement Class
  Member may file one Claim and receive one cash payment.

    9. How do I file a Claim?

  If you qualify for a cash payment, you must complete and submit a valid Claim Form. You can file your
  Claim Form online at www.DROTCPAsettlement.com or download a Claim Form from the Settlement
  Website and email it to info@DROTCPAsettlement.com send it by U.S. Mail to the address below. The
  deadline to file a Claim online or via email is 11:59 p.m. EST on xxxxxxxxx.
  If you received a Claim Form in the mail with a postcard summary of this Notice, simply complete,
  sign, and mail the form by U.S. Mail to the address below. The postage is pre-paid and there is no need
  for a stamp.
  Claim Forms submitted by mail must be postmarked on or before xxxxxxxxxx to:
                                    Osborn Settlement Administrator
                                             P.O. Box 6006
                                       Portland, OR 97208-6006
  No matter which method you choose to file your Claim Form, please read the Claim Form carefully and
  provide all the information required. Only one Claim Form may be submitted per Settlement Class
  Member.




                                QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                   www.DROTCPAsettlement.com
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    10. When will I receive my payment?

  Payments to Settlement Class Members will be made only after the Court grants Final Approval to the
  Settlement and after any appeals are resolved (see “Final Approval Hearing” below). If there are appeals,
  resolving them can take time. Please be patient.
                    EXCLUDING YOURSELF FROM THE SETTLEMENT
  If you do not want benefits from the Settlement, and you want to keep the right to sue or continue to
  sue Osborn on your own about the legal issues in this case, then you must take steps to get out of the
  Settlement. This is called excluding yourself—or it is sometimes referred to as “opting out” of the
  Settlement Class.

    11. How do I get out of the Settlement?

  To exclude yourself from the Settlement, you must send a timely letter by mail to:
                                     Osborn Settlement Administrator
                                              P.O. Box 6006
                                        Portland, OR 97208-6006
  Your request to be excluded from the Settlement must be personally signed by you under penalty of
  perjury and contain a statement that indicates your desire to be “excluded from the Settlement Class”
  and that, absent of excluding yourself or “opting out,” you are “otherwise a member of the Settlement
  Class.”
  Your exclusion request must be postmarked no later than xxxxxxxxx. You cannot ask to be excluded
  on the phone, by email, or at the Settlement Website.
  You may opt out of the Settlement Class only for yourself.

    12. If I do not exclude myself, can I sue Osborn for the same thing later?

  No. Unless you exclude yourself, you give up the right to sue Osborn for the claims that the Settlement
  resolves. You must exclude yourself from this Settlement Class in order to pursue your own lawsuit.

    13. What am I giving up to stay in the Settlement Class?

  Unless you opt out of the Settlement, you cannot sue or be part of any other lawsuit against Osborn about
  the issues in this case, including any existing litigation, arbitration, or proceeding. Unless you exclude
  yourself, all of the decisions and judgments by the Court will bind you.
  The Settlement Agreement is available at www.DROTCPAsettlement.com. The Settlement Agreement
  provides more detail regarding the Releases and describes the Released Claims with specific
  descriptions in necessary, accurate legal terminology, so read it carefully. You can talk to the law firms
  representing the Settlement Class listed in Question 15 for free, or you can, at your own expense, talk to
  your own lawyer if you have any questions about the Released Claims or what they mean.

    14. If I exclude myself, can I still get a payment?

  No. You will not get a payment from the Settlement Fund if you exclude yourself from the Settlement.



                               QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                  www.DROTCPAsettlement.com
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                           THE LAWYERS REPRESENTING YOU
    15. Do I have a lawyer in the case?

  The Court has appointed the following lawyers as “Class Counsel” to represent all members of the
  Settlement Class.
                                              Scott Edelsberg
                                              Edelsberg Law

                                              Manuel Hiraldo
                                              Hiraldo Law

                                              Andrew Shamis
                                             Shamis & Gentile

  You will not be charged for these lawyers. If you want to be represented by another lawyer, you may
  hire one to appear in Court for you at your own expense.

    16. How will the lawyers be paid?

  Class Counsel intend to request up to 33.33% of the value of the Settlement for attorneys’ fees plus
  reimbursement of reasonable, actual out-of-pocket expenses incurred in the litigation. The fees and
  expenses awarded by the Court will be paid out of the Settlement Fund. The Court will decide the
  amount of fees and expenses to award.
  Class Counsel will also request that a Service Award of $7,500.00 be paid from the Settlement Fund
  to the Class Representative for his service as representative on behalf of the whole Settlement Class.
                              OBJECTING TO THE SETTLEMENT
    17. How do I tell the Court if I do not like the Settlement?

  If you are a Settlement Class Member (and do not exclude yourself from the Settlement Class), you can
  object to any part of the Settlement. To object, you must timely submit a letter that includes the
  following:
     1) A heading that includes the case name and case number— MCLEAN v. BRETT A. OSBORN,
        D.O., PLLC Case No. 18-cv-81222-DMM;
     2) Your name, address, telephone number, the cell phone number at which you received text
        messages and/or ringless voicemails from Osborn, and if represented by counsel, the name,
        bar number, address, and telephone number of your counsel;
     3) A signed statement stating, under penalty of perjury, that you received one or more text messages
        and/or ringless voicemails sent by or on behalf of Osborn and are a member of the Settlement
        Class;
     4) A statement of all your objections to the Settlement including your legal and factual basis for
        each objection;
                             QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                 www.DROTCPAsettlement.com
                                                     6
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     5) A statement of whether you intend to appear at the Final Approval Hearing, either with or
        without counsel, and if with counsel, the name of your counsel who will attend;
     6) The number of times in which your counsel and/or counsel’s law firm have objected to a class
        action settlement within the five years preceding the date that you file the objection, the caption
        of each case in which counsel or the firm has made such objection, and a copy of any orders
        related to or ruling upon counsel’s or the firm’s prior objections that were issued by the trial
        and appellate courts in each listed case;
     7) A list of all persons who will be called to testify at the Final Approval Hearing in support of the
        objection; and
     8) Any and all agreements that relate to the objection or the process of objecting—whether written
        or verbal—between you or your counsel and any other person or entity.
  If you wish to object, you must file your objection with the Court (using the Court’s electronic filing
  system or in any manner in which the Court accepts filings) and mail your objection to each of the
  following three (3) addresses, and your objection must be postmarked by XXXXXXXXXXXXX.
          Clerk of the Court                  Class Counsel                   Defendant’s Counsel
   United States District Court for    Scott Edelsberg                   Julie Singer Brady BAKER &
   the Southern District of Florida    Edelsberg Law, PA                 HOSTETLER, LLP
   400 N. Miami Ave                    2875 NE 191st #703                2300 Suntrust Center
   Miami, FL 33128                     Aventura, FL 33180                200 South Orange Avenue
                                                                         Post Office Box 112


    18. What is the difference between objecting and asking to be excluded?

  Objecting is telling the Court that you do not like something about the Settlement. You can object to
  the Settlement only if you do not exclude yourself. Excluding yourself is telling the Court that you do
  not want to be part of the Settlement. If you exclude yourself, you have no basis to object to the
  Settlement because it no longer affects you.
                               THE FINAL APPROVAL HEARING
  The Court will hold a hearing to decide whether to approve the Settlement and any requests for fees
  and expenses (“Final Approval Hearing”).

    19. When and where will the Court decide whether to approve the Settlement?

  The Court has scheduled a Final Approval Hearing on xxxxxxx at xxx a.m. at the xxxxxxxxxxxxx.
  The hearing may be moved to a different date or time without additional notice, so it is a good idea to
  check www.DROTCPAsettlement.com for updates. At this hearing, the Court will consider whether
  the Settlement is fair, reasonable, and adequate. The Court will also consider the requests by Class
  Counsel for attorneys’ fees and expenses and for a Service Award to the Class Representative. If there
  are objections, the Court will consider them at that time. After the hearing, the Court will decide
  whether to approve the Settlement. It is unknown how long these decisions will take.

    20. Do I have to attend the hearing?

  No. Class Counsel will answer any questions the Court may have. But, you are welcome to attend the
  hearing at your own expense. If you send an objection, you do not have to come to Court to talk about
  it. As long as you submitted your written objection on time to the proper addresses and it complies with
                                QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                   www.DROTCPAsettlement.com
                                                    7
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  all the other requirements set forth above, the Court will consider it. You may also pay your own lawyer
  to attend the hearing, but it is not necessary.

    21. May I speak at the hearing?

  You may ask the Court for permission to speak at the Final Approval Hearing. To do so, your timely
  filed objection must include a statement of whether you intend to appear at the Final Approval Hearing
  (see Question 17 above).
  You cannot speak at the hearing if you exclude yourself from the Settlement.
                                       IF YOU DO NOTHING
    22. What happens if I do nothing at all?

  If you are a Settlement Class member and do nothing, meaning you do not file a timely Claim, you will
  not get benefits from the Settlement. Further, unless you exclude yourself, you will be bound by the
  judgment entered by the Court.
                                GETTING MORE INFORMATION
    23. How do I get more information?

  This Notice summarizes the proposed Settlement. You are urged to review more details in the
  Settlement Agreement. For a complete, definitive statement of the Settlement terms, refer to the
  Settlement Agreement at www.DROTCPAsettlement.com. You also may write with questions to the
  Settlement Administrator at Osborn Settlement Administrator, P.O. Box 6006, Portland, OR 97208-
  6006 or call the toll-free number, 1-888-551-1722.




                               QUESTIONS? CALL 1-844-551-1722 OR VISIT
                                  www.DROTCPAsettlement.com
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                                                         CLAIM FORM

     To submit a Claim for a payment from the Settlement Fund, please fill out the Claim Form below and submit it via
     email to info@DROTCPAsettlement.com or by U.S. mail. You may also file a Claim Form online at
     www.DROTCPAsettlement.com. The deadline to file a claim online or via email is 11:59 p.m. EST on xxxxxxxx.
     If you send in a Claim Form by regular mail, it must be postmarked on or before xxxxxxxxx.

     *First Name:                                             *MI:     *Last Name:


     *Address:


     *City:                                                                                   *State:   *ZIP Code:


     *Cellular Telephone Number that received one or more texts or voicemail messages from Osborn:
                    –            –
     Telephone Number where you can be reached if different from above:
                    –            –
     Your Email Address:



     *I declare under penalty of perjury that to the best of my knowledge I received one (1) or more text messages and/or
     ringless voicemail sent by or on behalf of Osborn between September 13, 2014 and (the date of Final Approval).


                                                                                         *Date:         –        –
      *Signature:


     *Denotes Information You Must Provide To Have A Valid Claim



     To submit by U.S. Mail, send the Claim Form to the following address:

     Osborn TCPA Settlement Administrator
     PO Box 6006
     Portland, OR 97228-6006




                           Questions? Visit www.DROTCPAsettlement.com or call 1-888-457-6608

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